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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH CAROLINA
                            CHARLESTON DIVISION
                     Court File No.: 2:17-cv-02739-RMG-MGB


 David Flowers,
                     Plaintiff,
       v.

 Jeff Anderson, Jeff Anderson &
 Associates, P.A., and Gregg Meyers,

                     Defendants.



     SECOND DECLARATION OF BARRY M. LANDY IN SUPPORT OF
  DEFENDANTS JEFF ANDERSON AND JEFF ANDERSON & ASSOCIATES,
         P.A.’S MOTION TO DISMISS AND STAY DISCOVERY

      I, Barry M. Landy, declare as follows:

      1.     I am an attorney at the law firm, Ciresi Conlin LLP, representing Plaintiffs

Jeff Anderson and Jeff Anderson and Associates, P.A. (collectively, “JAA”).

      2.     Attached as Exhibit F is a true and correct copy of an email from me to

Mr. Flowers dated June 7, 2017.

      3.     Attached as Exhibit G is a true and correct copy of letter dated December

20, 2016 from Jeff Anderson to Greg Meyers.

      4.     Attached as Exhibit H is a true and correct copy a letter dated January 13,

2017 from Jeff Anderson to Gregg Meyers.
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         I declare under penalty of perjury, pursuant to 28 U.S.C. §1746, that the foregoing

is true and correct to the best of my knowledge.

         Executed this 11th day of December, 2017 in Minneapolis, Minnesota.



                                                   /s/Barry M. Landy
                                                     Barry M. Landy




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Barry M. Landy

From:                              Barry M. Landy
Sent:                              Wednesday, June 07, 2017 11:35 AM
To:                                'David Flowers'
Subject:                           RE: Fees Owed


Mr. Flowers:

My client does not have a copy of any fee agreement between Gregg Meyers and you related to the John Doe 10
matter. Additionally, JAA does not have a copy of any fee agreement on its system.

We are unable to know whether you have a contractual interest in the fees for the John Doe 10 matter without a copy of
the agreement. Please provide us a copy.

Barry

Barry M. Landy
Attorney
P:      612.361.8224
E:      BML@ciresiconlin.com



Ciresi Conlin LLP | 225 S. 6th St. | Suite 4600 | Minneapolis, MN 55402


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distributing it. We do not waive the attorney-client privilege by an email incorrectly delivered.
www.CiresiConlin.com

From: David Flowers [mailto:dflowers60@gmail.com]
Sent: Wednesday, June 07, 2017 8:55 AM
To: Barry M. Landy <BML@ciresiconlin.com>
Subject: Fees Owed


Mr. Landy,



       I have received your email and have a brief response. I am not represented by Mr. Pierce or his
firm. For the time being I am not represented by counsel, but likely will be if litigation ensues.



        Your client has known about my interest in this case and others ever since he hired Gregg Meyers in his
firm. I am not going to reproduce for you the paper trail that your client already has and is well aware of and
which he should have already provided to you.
                                                             1
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        The motion you mention is not my motion. It was filed by the firm that is holding my money in
trust. They sought agreement from your client to disburse my portion of the fees to me. Your client refused. It
was only then that they filed the motion. Your client’s refusal to agree to disburse to me was also the catalyst
for his counsel’s motion to be relieved, a conflict that your client manufactured.



       Your client’s dispute with Gregg Meyers only involves Gregg Meyers’s portion of the fee in this case
and others. It does not involve, and has never involved, my portion of the fees.



       The delay in the disbursement is caused solely by your client’s frivolous assertion of a lien on my
fees. And he now wants to further delay by seeking new counsel and requesting information that is already in
his possession. I choose not to countenance his unprofessional behavior.



         I am almost finished with the Complaint I am drafting. I am not relying on the firm’s motion. I plan to
file a separate action against your client and will seek tort damages for consequential damages, including
attorneys’ fees and costs, in addition to the fees that I am already clearly owed, but which your client is
wrongfully blocking.



       If your client comes to his senses and consents to Mr. Pierce disbursing my fees before I finish the
Complaint there will obviously be no need to file it. Please advise if your client will not agree to the
disbursement whether you will accept service.



       With due respect,



               David Flowers




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                                                       )
                                  JEFF ANDERSON            & ASSOCIATES PA
                                   REACHING ACROSS TIME FOR JUSTICE
   December 20, 2016


    SENT VIA EMAIL
                                                                                                                      ATTORNEYS
    Gregg Meyers                                                                                                 JEFFREY R. ANDERSON
                                                                                                                       Minnesota
    Pierce, Hems, Sloan & Wilson, LLC                                                                                  Wisconsin
    The Blake House                                                                                                      Illinois
                                                                                                                        Colorado
    321 East Bay Street                                                                                                New York
    Charleston, SC 29401                                                                                              Pennsylvania
                                                                                                                REGJSTERED fOREJGN LAWYER
                                                                                                                     (UNITED KlNGDOM)

    Re:     Client Representation
                                                                                                                  MICHAEL FINNEGAN
                                                                                                                      Minnesota
    Dear Gregg:                                                                                                       Wisconsin
                                                                                                                      California

    In response to your letter of December 14, 2016, enclosed please find the firm's                               J. MICHAEL RECK
    calculations for the fee claims for the cases you have notified us you are taking. The                             California
                                                                                                                       New York
    fees have been calculated at a $300.00 an hour rate based on the work you completed                                  Texas
    on these files while working at Jeff Anderson & Associates. The hours upon which the                              Pennsylvania

    lien is based comes from a review of the work completed by you. The reconstructed
                                                                                                                    ELIN LINDSTROM
    hours are obviously short due to the fact that you alone know the hours you worked on                              Minnesota
    these cases and -I suspect that you did not keep detailed time records. If you dispute the                          Wisconsin

    liens, you must submit a full time record for each case ..
                                                                                                                  TRUSHA PATEL GOFFE
                                                                                                                       Minnesota
    I have not included a specific number for the       cases because I believe you may                              Washington DC
    have been keeping time records on those cases. I request that you forward to me those
                                                                                                                       JOSH PECK
    time records by December 23, 2016 at 5:00 p.m. central time. Ifl do not receive your                                Minnesota
    time records, we will review the work completed by you on those cases and determine
    the amount.                                                                                                      MOLLY BURKE
                                                                                                                      Minnesota

    We also request any time records you have for any of the other cases you worked on as
    an employee of Jeff Anderson & Associates. If I do not receive similar time records on                            OF COUNSEL
                                                                                                                  ANTHONY DEMARCO
    the other cases, I will need to assume that the time reconstruction we have completed is                          California
    accurate or low.

    Also enclosed are the cost ledgers for the cases. Note that for the                                            Orncs LoCAT[0NS
                        , we have divided that equally among the respective clients and                             St. Paul, Minnesota
                                                                                                                   Pasadena, California
    added that amount to each of their total costs on the chart.                                                      Chicago, Illinois
                                                                                                                   Milwaukee, Wisconsin
                                                                                                                       Kailua, Hawaii
    You state that a substitution of counsel is not necessary because nothing has changed                          New York, New York
    because you are still the attorney of record. We believe you should file and serve a                             London, England

    notice of substitution of firm in each case indicating that you are now with Pierce,
    Hems, Sloan & Wilson and will remain counsel of record. (Enclosed is an example of
    one from another case.)




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 Gregg Meyers
 December 20, 2016
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 Because we have copies of the elections by the clients, I have directed that the files be
 transferred to you. The physical files are being sent by Federal Express today to be
 delivered tomorrow. Please direct how you wish the electronic files to be sent in an
 email to Therese.

 Once again, I offer any manner you think is appropriate to resolve these ongoing issues,
 including mediation.

 Very truly yours,

J1f'tis~ CU~
 Jeffrey R. Anderson
 jeff@andersonadvocates.com

 JRA:tg
 Enclosures
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                          EXHIBIT H
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                                                        )
                                  JEFF ANDERSON             & ASSOCIATES PA
                                    REACHING ACROSS TIME FOR JUSTICE


   January 13, 2017

    SENT VIA EMAIL                                                                                                    ATTORNEYS
                                                                                                              JEFFREY     R. ANDERSON
    Gregg Meyers                                                                                                       Minnesota
                                                                                                                       Wisconsin
    Pierce, Hems, Sloan & Wilson, LLC                                                                                    Illinois
    The Blake House                                                                                                     Colorado
                                                                                                                       New York
    321 East Bay Street                                                                                               Pennsylvania
    Charleston, SC 29401                                                                                     REGISTERED FOREIGN LAWYER
                                                                                                                     (UNITED KINGDOM)



    Re:     Cost and Attorney Fee Liens                                                                           MICHAEL FINNEGAN
                                                                                                                        Minnesota
                                                                                                                        Wisconsin
    Dear Gregg:                                                                                                         California

                                                                                                                   J. MICHAEL RECK
    I apologize that the electronic files have not yet been sent to you. The filing                                     California
    department was attempting to produce complete files before they sent them. There are                                New York
                                                                                                                          Texas
    numerous emails on these cases which include documents that had never been filed in                                Pennsylvania
    SharePoint. A hard drive with the files as they currently exist in SharePoint will be
    sent by Federal Express by the end of business today.                                                           ELIN LINDSTROM
                                                                                                                        Minnesota
                                                                                                                        Wisconsin
    With regard to your claims that I made false claims on the hours you spent on the
    numerous cases you worked while in the employ of Jeff Anderson & Associates, I have                           TRUSHA PATEL GOFFE
                                                                                                                      Minnesota
    been clear that these our estimates based on my knowledge of the cases and have                                  Washington DC
    invited you to provide accurate time records. The estimates were compiled based on a
    list of the tasks you completed in these cases that was put together by Tammy. Note                                JOSH PECK
                                                                                                                        Minnesota
    that this list of tasks contains no emails, phone calls, meetings or general
    correspondence and was compiled as best we could as an estimate from the files and                               MOLLY BURKE
    Tammy. Our estimate is less than comprehensive and never intended to be anything                                    Minnesota
    other than a gross reconstruction based on limited information. Because you worked
    solo so much, I have no way of knowing how much time was spent.                                                   OF COUNSEL
                                                                                                                  ANTHONY DEMARCO
                                                                                                                        California
    As you admit in your letter, you did not keep time on these cases. I was left to
    reconstruct that time. You may have the opinion that my assertion of the time spent is
    excessive, something you actually don't know, because you did not keep track of your                           OFFICE LoCATIONS
    time. The estimates were not false. To be false it required that I knew the actual hours                        St. Paul, Minnesota
                                                                                                                   Pasadena, California
    you worked. Neither I nor you have records of the actual hours you worked. You also                               Chicago, Illinois
    claim that I "falsely duplicated time." I had no way to know what actions were                                 Milwaukee, Wisconsin
                                                                                                                      Kailua, Hawaii
    appropriately divided between clients. We simply did the best estimates we could                               New York, New York
    given the information we had. I again request, as I did in my letter of December 20,                             London, England

    2016, that you send me a complete reconstructed time record for each of these cases.

    I am still hoping we can have a constructive conversation on a way to resolve this
    dispute.




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Gregg Meyers
January 13, 201 7
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Very truly yours,




Jeffrey R. Anderson
jeff@andersonadvocates.com

JRA:tg
